                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

SAMANTHA MIXSOOKE,
          Plaintiff,
                                          Case Number 3:12-cv-00170 JWS
v.

PRUDENTIAL LIFE INSURANCE CO.,
          Defendant and

KATY R. NUTTALL,
          Intervener-Defendant            JUDGMENT IN A CIVIL CASE


   JURY VERDICT. This action came before the court for a trial by
jury. The issues have been tried and the jury has rendered its
verdict.


XX   DECISION BY COURT. This action came before the court. The
issues have been duly considered and a decision has been rendered.

            IT IS ORDERED AND ADJUDGED:

        THAT Nuttall's motion at docket 31 is GRANTED and
Mixsooke's motion at docket 32 is DENIED.


APPROVED:

 s/JOHN W. SEDWICK
 United States District Judge

 Date: February 15, 2013
 N OTE : Award of prejudgment interest,
 costs and attorney's fees are governed          Marvel Hansbraugh,
 by D.Ak. LR 54.1, 54.3, and 58.1.                 Clerk of Court




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